
HARRISON,
concurring in part and dissenting in part:
I concur with the majority’s opinion as to all defendants except Radi whose conviction I would affirm. By his own statements he was one of two men who kidnapped a young man (who unlike any of the defendants worked for a living), took him outside his hometown, robbed and ruthlessly murdered him. In Radi’s case it makes little or no difference who fired the shots, for his very acts in participating in hte kidnapping and robbery make him a principal to the murder.
As to Fitzpatrick, who was not present at the time of Radi’s statement on who fired the shots, this Court is compelled to follow the *194decision of the United States Supreme Court in Bruton v. United States, supra, and its progeny. To do otherwise would be to delay the ultimate decision on retrial. Bruton is based upon the right of defendant Fitzpatrick, guaranteed by the Sixth and Fourteenth Amendments, to cross-examine witnesses. Bruton thus held that, in a joint trial where one defendant did not take the stand the introduction of his extrajudicial confession which incriminated the second defendant, violated the second defendant’s Sixth and Fourteenth Amendment rights even though the jury was instructed the confession was not to be considered against him.
Subsequent cases illustrate Bruton does not invalidate use of co-defendant statements in all joint trial situations. When, for example, the declarant codefender takes the stand and subjects himself to cross-examination, there is no infringement of any constitutional right to .cross-examine. Nelson v. O’Neil, 402 U.S. 622, 91 S.Ct. 1723, 29 L.Ed.2d 222. The Bruton rule cannot be invoked by a defendant who insists upon a joint trial, knowing the prosecution intends to use codefendants’ inculpatory statements. United States v. Sullivan, 9 Cir., 435 F.2d 650, cert. denied 402 U.S. 912, 91 S.Ct. 1392, 28 L.Ed.2d 654. See also Anno. 29 L.Ed.2d 931, 989, § 8.
If the inculpatory codefendant’s confession is admissible under an exception to the hearsay rule, as for example an admission of a coconspirator, the Bruton rule will not be invoked. United States v. Kelley, 8 Cir., 526 F.2d 615, 620. Also where extrajudicial statements of both defendants interlock, and do not conflict on vital points, courts have held that no reversal is required. United States ex rel. Stanbridge v. Zelker, 2 Cir., 514 F.2d 45.
For the above reasons I would confirm as to defendant Radi.
